                       IN THE UNITED STATES DISTRICT COURT
                      FOR THE EASTERN DISTRICT OF TENNESSEE
                              CHATTANOOGA DIVISION

LINDA J. NORWOOD AND                                 )
THE ORANGE GROVE CENTER, fI{C.,                      )
                                                     )
       Plaintiffs,                                   )
                                                     )      CA No. 23-CV-00111 DCLC-DCH
V                                                    )
                                                     )
DISABILITY RIGHTS TENNESSEE,                         )
                                                     )
       Defendant.                                    )

                     AGREED ORDER OF SUBSTITUTION OF COUNSEL

       Upon agreement and for good cause shown, it is:

ORDERED that the firm of Grant, Konvalinka & Harrison, P.C. and John P. Konvalinka, April

H. Sawhill, andZachary Atchley be substituted as attorneys of record for Plaintiff, Linda J.

Norwood, and Fielding Atchley andZachary Atchley be allowed to withdraw as attorneys of

record for the firm of McKoon, Williams, Atchley & Stulce, PLLC.

       Enter this _      day of                  2024

SO ORDERED




                                                     UNITED STATES MAGISTRATE ruDGE
MCKOON WILLIAMS ATCHLEY & STULCE, PLLC


By:    /s/ Fieldins
      Fielding Atchley, BPR #001310
      Zachary Atchley, BPR #040892
      633 Chestnut Street, Suite 1500
      Chattanooga, TN 37450
      Telephone: (423) 756-6400
      fatchl ey @ mwalawfirm. c om
      zatchley@mwalawfi rm. com
      (Withdrawing for Plaintiff Norwood)




GRANT, KONVALINKA & HARzuSON, P.C

By:   /s/Aoril H. Sawhill
      John P. Konvalinka, BPR #001780
      April H. Sawhill, BPR #039906
      Zachary Atchley, BPR #040892
      633 Chestnut Street, Suite 900
      Chattanooga, TN 37450
      Telephone: (423) 7 56-8400
      j konvalinka@ gkhpc. com

      asawhill@gkhpc.com
      (Substituting for Plaintiff Norwood)
